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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

      IN RE: RICKIE LAMAR DEAN, SR.,            {   CHAPTER 13
                                                {
                                                {
              DEBTOR(S)                         {   CASE NO. A18-53457-BEM
                                                {
                                                {   JUDGE ELLIS-MONRO


                              OBJECTION TO CONFIRMATION


           COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
      Confirmation of the plan for the following reasons:

           1. The Debtor(s)' payments under the proposed plan are
      not current.

           2. The Plan as proposed will extend beyond sixty (60)
      months, contrary to 11 U.S.C. Section 1322(d). (71 months).

           3.   As unsecured creditors may receive less than in a
      Chapter 7 liquidation, the plan may not conform to 11 U.S.C.
      Section 1325(a)(4).

           4. The Debtor(s) has failed to provide the Trustee with a
      copy of the federal tax return or transcript of such return for
      the most recent tax year ending immediately before the
      commencement of the instant case and for which a federal income
      tax return was filed, in violation of 11 U.S.C. Section
      521(e)(2)(A)(i).

           5. The box checked in Section 1.2 appears to be
      inaccurate and fails to correspond with Section 3.4 of the
      proposed plan.

           6. The lien avoidance calculation in Section 3.4 of the
      plan appears to be inaccurate.

           7. Pursuant to information received from the Internal
      Revenue Service, 2014, 2016 and 2017 tax returns have not been
      provided to the taxing authorities; thereby, preventing the
      Chapter 13 Trustee from evaluating the feasibility of the
      Chapter 13 plan, in violation of 11 U.S.C. Sections 1322(d) and
      1325(a)(6).


      Mary Ida Townson, Chapter 13 Trustee
      Suite 2200 – 191 Peachtree Street, N.E.
      Atlanta, GA 30303-1740
      (404) 525-1110
      sonyab@atlch13tt.com
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           8. The payout of the claim(s) owed to the Georgia
      Department of Revenue will extend beyond sixty (60) months,
      contrary to 11 U.S.C. Section 1322(d).

           9. Pursuant to information received from the Meeting of
      Creditors, 2014, 2016 and 2017 tax return(s) have not been
      provided to the taxing authorities; thereby, preventing the
      Chapter 13 Trustee from evaluating the feasibility of the
      Chapter 13 plan, in violation of 11 U.S.C. Section 1322(d) and
      1325(a)(6).

          10. The Debtor has failed to file tax returns with the tax
      authorities for the four (4) year period prior to filing in
      violation of 11 U.S.C. Section 1308.

           WHEREFORE, the Trustee moves the Court to inquire into the
      above objections, deny Confirmation of this Debtor's (s') Plan
      and to dismiss the case; or, in the alternative, convert the
      case to one under Chapter 7.

            April 13, 2018




                                       __________/s/_____________
                                       Sonya M. Buckley, Attorney
                                       For Chapter 13 Trustee
                                       GA Bar No. 140987




      Mary Ida Townson, Chapter 13 Trustee
      Suite 2200 – 191 Peachtree Street, N.E.
      Atlanta, GA 30303-1740
      (404) 525-1110
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                               CERTIFICATE OF SERVICE


            This is to certify that I have this day served

      DEBTOR(S):

      RICKIE LAMAR DEAN, SR.
      6839 BRIDGEWOOD DRIVE
      AUSTELL, GA 30168

      ATTORNEY FOR DEBTOR(S):

      THE SEMRAD LAW FIRM, LLC
      STERLING POINT II
      SUITE 201
      303 PERIMETER CENTER NORTH
      ATLANTA, GA 30346

      in the foregoing matter with a copy of this pleading by
      depositing in the United States Mail a copy of same in a
      properly addressed envelope with adequate postage thereon.

      This 13th day of April 2018




                 /s/             ____
      Sonya M. Buckley, Attorney
      For Chapter 13 Trustee
      GA Bar No. 140987




      Mary Ida Townson, Chapter 13 Trustee
      Suite 2200 – 191 Peachtree Street, N.E.
      Atlanta, GA 30303-1740
      (404) 525-1110
      sonyab@atlch13tt.com
